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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

   IN RE: ZANTAC (RANITIDINE)                                                         MDL NO 2924
   PRODUCTS LIABILITY                                                                  20-MD-2924
   LITIGATION
                                                           JUDGE ROBIN L ROSENBERG
                                                   MAGISTRATE JUDGE BRUCE REINHART
   __________________________________/

   THIS DOCUMENT RELATES TO:
   ___ARTHUR CARTEE_____
   CASE NO. 9:20-CV-80555__

    Arthur Cartee, Plaintiff

           v.
                                                                 Notice of Appeal
    Boehringer Ingelheim Pharmaceuticals, Inc.,
    GlaxoSmithKline LLC;
    Pfizer, Inc., Defendants


           Notice is hereby given that Arthur Cartee, plaintiff in the above named case, hereby appeals
   to the United States Court of Appeals for the Eleventh Circuit from D.E. 2516, an Order granting
   Defendants’ Motions to Dismiss Plaintiffs’ Innovator-Liability Claims, entered in this action on
   the 31st day of December, 2020.
          This Order was made final with respect to Plaintiff Arthur Cartee on the 27th day of
   January, 2021, when Plaintiff amended his Short Form Complaint to eliminate all claims for which
   repleading was permitted by the Court’s Orders.
    DATED: January 27, 2021.                            Respectfully submitted,
                                                        /s/Ashley Keller
                                                        Ashley Keller
                                                        KELLER LENKNER LLC
                                                        150 N. Riverside Plaza, Suite 4270
                                                        Chicago, IL 60606
                                                        Tel: (312) 741-5220

                                                        Counsel for Plaintiff–Appellant




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                                   CERTIFICATE OF SERVICE

          I hereby certify that on January 27, 2021, I electronically filed the foregoing document

   with the Clerk of the Court using CM/ECF and that the foregoing document is being served on all

   counsel of record or parties registered to receive CM/ECF Electronic Filings.


                                                               /s/Ashley Keller
                                                              Ashley Keller




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